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EXHIBIT L
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zc 610Z

{NOX ssayq — Ajqerestu jsa} wostid ayy popley om ajdoad ayy 10g

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‘oysattig ‘suyD “eurqes ‘Apury ‘ery ‘Ysny ‘Wey ‘uoreys ‘sO ‘Iplayy ‘eto’y -Aoumol

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“squared Aut pue woqeziyy ‘oton’y ‘xeyy ‘Aurey ‘ondos :ajdoad yersads oxy 10,7

ésattof 1y3e41 Ss} ‘olen / ZPT

Tt tot

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LSOUOL AYA] ¥VY} ST OTOH

ésauof Iw tem s}‘oneH / ZUPT
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Case 1

OcT etoz

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yeuri0,y MAN SUL

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ésauo{ sy aetp St ‘OHH / Z31PA

6IT 6t0z

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ateMag JaAng

esouof ayia sy ‘oye / Z4Pz
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Case 1

c2r st0z

WIM 901y

ryquour Jad Y¢Sg oy syuaT[O

INO 0} SAdIAIOS SULMOTIOJ SY} porayjo pue syIsqom oAUSyIOMIEG’ AMM ot) dn jos aM
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Ul paysalayUI SEM OYM sQuUIesU_ JO IOUMO oT} WO] sysIA Ui WeM peg om Zurpey
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supeyaryAl

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amy pue wooneops pay Apeoye oy ‘req ayy day aay “‘payoodxe 7 yeym apqnop yng
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esauof IAL IetH 5] ‘ONSH / ZUPT

T2T 610z

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sem oym ofim Avs toy djay owes WIM JfosAur JoAvapua sIq} oseueM 0} peplosp |

WO HA OGL

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égsauof sy yeus st ‘olan / Z3Ipa
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Case 1

Pcl 6t0z

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“Ayr y

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Esouof api sem st ‘orsH / Z4PZ

Ect etoz

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ésouof 1yqetp st ‘olay / ZUPT
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Case 1

9eL Broz

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OY] 0} MOUS T[9S },UP]Nod oY MO paw I] “OAISNOXS sIy ISO] pey oy UMOIg sonzer
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JIGWIWIAA 0} SEVNISLIYD &— pIOZ Joquiesaq

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Jo omusYps IZUOg & Joypie SI] ‘SoouRIsUMINO BuyeSyIM OM sre aIay], “oursyos wuOg
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gsattof ay qewm st ‘oyeH / ZIPS

Set 6t0z

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ue pey Aoq Suites arom (Aueduioo sun) Og payjeo Aueduros e yey} presy pey
ay Surkes umorg sourer WO syyeo Sues sem J °S90} S.JoujJO yous uo Suiddays sem
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ésauof appre 5} ‘one / ZIPs
Case 1

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82T et0z

"SHO MA Ig 0} 1OAO JyeIs poos au} Jo May
@ BUDE] SYIOA\ IEG UO pasnooy pue ssauisng Surpun pmory Ajmby oy} UMop pasojo
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gnd om Woy wml pfnom Jeys oy) Jey pue yooys SurAnq oy won} Surzemssard
pure s}HoTo BuTyJeo Vey YSIY alom SioxoIg jes AW 0} ssnup Buljeop sem yuepuaye
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pass} NYS — ssoursng Suypuny pPMory

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SIO]SOAU! pue sjuade OY} ILM Yoo] oy Za103 sem srqy Moy sem Aulom ureur AW “STqL
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@ st sim, yysno0y | AO, *.Wezol st ymoooe mod ‘o} dn pausis nok suonyipuocs
pue suo) oy} jsuTeSe yUNODIe OY] pasn 9AeY NOX, “sem Wogoid om Jey Jno pug

0} O81B,J S]OAA, YUeq oy} du poyyeo J ~paounog pey sonbayo s,oym jes Woy sesessour

ésauol aw aetp 5] ‘ofeH / ZNPa

LOT et0z

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pue uMOp Ssd10A omy idey suoAIOAO ols OyeUI 0} JoBeULTE oY] Pfo} smu eB OF
JPPSAUL pasnoxa | -1OO]} Sayes 9t] UO OpIsno Wo Zuto0s Zurmteayos oy] [Je IM sAnB QYS
OM} Ot} UO S}BUSOINS 0} SU IO Prey SEM J “pesusdl] sq pynoys yey) uoyeiedo ue
SUTTON SBA J JT 998 0} a1ey aIoM Ao] ples SIoyeSySoAUl OM} OY, “OUN} P1099! UI WOOL
otf 9] pUe spreo ssoy] ye Yoo] suo Yoo} suy ou ye WIM Buns sem | oy uoeIsdo
sayes oy) JO JoBeueW sy], “SatjLMoos Jo JoyeMSol SQ oq) ,WOIssTUMMOD oSueYyOX”
sarjtmoas, sen Ayjaf oxy payesnd pue peoy Aur Jo doy oq} Wy yeaYy Aw se 998 pynoo
J Splom ATuo ayy, ‘spied ssotisng seq) no paynd Aoy} way], .{1 op Aepo} sMOTAIOJUL
Aue savy },Uop J, Sed UONOBEI syeIpoUTUM APA] “SOUT SNOLIes pue sjeoourel Suo] WIM
ur poyem shud om) (soQJO ssouisnq Suarpuny pMmors sy) yooNS OE Je SOLFO om UT
SUIS S[TYM Joye] sAep Moy VY “OBI, ~ UeeTLEY] Ul JWemeso1 do} e U1 ‘slayorq AoA
jnoge poXoydare yorym ‘ssauisng Surpung pmoro Aul 10} Ayed seunsuyD & posuewe ]
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‘oreys AU — WOTIICH ¢"[g¢ posseute peYy J SUOISSTUMUOS pue sosuadxa oy ye Yo Burxed
Joye pue sJTOUYSsAM asoy) SuUITJas Jo syuOW OMY IayY “WWouT Jed NOO‘OOES Punore
uy Surgung sem off “TesNYoY Ul SoYJo sry UI wes} Soles PoZIS JWO99p ¥ PM oO} payEys
pue WNjUStON Jo8 0} SurmuIdeq sem auOg Yoel pure yeUNUTUI sem Jeg} ng ‘pey om
ssauisng Aynby pmoip uy, Smpung pmory Aymby ow ySnompy soreys Burss sem ]
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Fesuary 0} Apoosp Jars oy} Woy. spuny oy} PayJaarp nq Jaye] Ino punoj J yonposd op

ésauof ay aeip sj ‘oan / Z4Ps
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Case 1

OeT 6t0z

W SEM II “TO SuTAIOM sem oY sjuese ssoUIYD oY] SpNjoXs pmnom yey} se s[eop aaisnjoxa
Aue Zum3is jsurese oui pastape oy feraeg 0} sty} pouonyuow J wey, “Worsar asourya
9] IOF OAISHIOXe UE payuRM OYM — juade peseq ssouTyD e wog yesodoid e pey uf “uO
ayey Aoup sjonpoid yory ynyoreo AIA are pur sdiysuoyejal osay} paiejsoy Savy eUTYS
Ul SI9YOIQ o}ejSo Teal IY} [TY “SBUNoowr sovZ 0} So"y SNOIOUINU SOATOAUL JET, “TIM
Suyesp are Ay) UL oy} pUe [ENPIAIpMT om) UI ysN.Q [BIO] say AoTP [HIM Suysoaut
JO Vopr oy] UreysjUS jou TIM Asyy, “eseoyd 0} prey Asnowojou oie ase aq],

eu)

SU em pave telus) ata)
ia [Pare %

 

“‘OdN pue Wap yrs jo
Trex eTqezedoin Jofew & asned 0} Sem ST], “BUIYD Ul Yomjou yueSe Meu B JOy Rapl UE
TPM Our 0} oUIeO WIL UOYM pasueyo [[e SIAL “VON c/O$ Your pue uo 7g (wf)
Ddf, Womyou Aousse sry woy Wuoul e voy [¢ punom Saronpoid sem feraeg
aw si Ag jt axl] BumpAue uses Joaou pey | yOnpord sm 10; puewep oy poddns
0} yZnoue yornb },usem yt Apjomb suoneso] / sasea] Mou dn Burais sem | ISG
jpapojdxe sejeg “soedsyiom ouo Jo aseyomnd ay} 10} %Z] 0} Wmnjor ay} psonpal pue

aseyoind ojsuls paBemossip 9 "%S°S] JO UINJoI B pajoRIe QOO*STIG JO JUSUNSaAUIT

esauro{ a ey st ‘oyfaH / ZUPT

621 6107

Ue JOY — sym sal “UMar SIojsaaMt ayy JoysTy oy} peseyomd nof sjran aiom
aqy “sasegomd ajdujnur pesemooue smypy * ,ourmmeiSo1g Juomaseuryl Wypes Ay, 97 UA
dn oie 3M UMJAI Yp] JE & WIM Iseg] Ivok Us} B UO QYO'SZTS JOJ YSop Yowa jjas wer

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“g]Jo asea] Ino paydesoe

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UI SIoysaaul Ajrea useq pey Aayy, “SUIUSIS alojoq om WLM sduyoour snoloumu
palsanbai sploypury oy) pue Surpymq ozud e sem sTyy, ‘oung wt pouedo woneso] sry,
“SU1001 SUOSU PUR SBOJO Maj B PUL IOOT] Mou “Buyees poxy ‘req e Suryeisurl Apjomb
NO SHA Pay a\\ “WOLBOOT 1Saq IMO sem I] “ONTOAY ,,9 JMO oBeuoy WIM oFeyILA
ypmusein ul Ayodoid @ sn punoy Aayy, -dnoipg Ayodoig weyyodoygoyy Aueduios
ay] pue essysy[ sem suIeU Joy] “sn Ioy Ayrsdoid somos pom oYM jose oyejso
year & WIM [eop SAISNTOXs ue pousis y Ayodoid sig) uo osvo] om) Burasts soye ApOYS
“Q00‘OSTS SPM nO IY Om JO} J9Spnq

OYL “(119M se ySo] 303 0} Plo} sem oy ~ JONG ,,6¢ WI pesreyo pey ay yey a[qnop
pejonb pue 003 Apserd 303 ueloLjseya ay]) polyeisul ureysAs yeouseya / YLM ou) pue
SySep “‘payonysuod sulOO! BUYSaUI MST OMY “TOOT Uapoom Mou “eq Mat e pope isn
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® payiuiqns suo pip yy) Om) ayy Jo yno pue dn MoYs },upIp wey} Jo sanpy “1e9A
MAT JY} V1OJOq SIOJOBYWO JOYIO SATF PAMIIAIOI! PUL 4SO] 393 0} WUTY P]o} J os Apooss
308 jnq mo I om Joy sjonb 0} poyse sem yoNG ,6¢ Woy sojeyUos SuIpjmq mG
“(2[QUIEsSUq WHO) JouIOD OW] pUNOIe antoAy nO Pade Joos nO) ‘arenbg seul], re0u
poses] jsnf pay 9M ajIs MoU B Je Poyeoo] SEM J PLOT JeaA MO" pure seLYSLIYD Uosmjog

SUOT}EIOY MONT

esattof 1A eM St ‘OnSH / ZUPT
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Case 1

cel Btaz

MOU B ayeaio pUL ISe| S|PPI] OU} Ul syLOAA Jeg Jo Suruado oy} no |foOI 0} payuEM
ay Aljeuly “soueLms00 Jemez v ST SSOUTSN SIN} UL YOM — no [Jey Be pey am JI Jo W
ONT] Yor Aouy uM sayes JFO M9 0} WIN} MOTTE P[NOM Yor Yomjou yuase ay} JoNUCS
pihom O_N pue uly JUeoUl yy “OUT 0} SATORINE JOU SeM OPI SIT, “safes drysrequieul uo
sno} 0] pue sjuase 0} Zuryjas doys 0} AeIAeG JO] sem vapl PUOdeS SUI ‘punolsyxORqG
auf OFA! JO YUL[s pynoo oy Yorlg_ uepwuor Woy Aeme vorUsye oy) jOoyep pom
ay Joye1odo pood e Zareq wry woy yede ‘auo pood & sem sdiyiyg ueeg ut BursuLq
JO vapl oy, “(Yoreesal JouIOIUT WMO Tey] yno pores oy} Joye ATqeqo1d) uorordsns
Aq peMopoy papieaeid wotsnyuos pjo oy) Jour Mou OG} UOYM o1OJoIEy}] pue YorMuUsy
se out Moy oym ysed Aur wo oydood yim Bureop TMS sem J sem wayqoid ayy, “yourq
ueqyeuor oj owen Au a8ueyo pue syoA\ Teq WLM Ysouye pels 0} paproap | SanIAyOe
Jeloraum0 Ava onuyuos 0} saqf sem Y oMsus 0} pue sry} JoyMOD OJ, “syueuTMOS
aayedou jo sosed pue saged poyeaaal jowloyur oyj oyu pody uoym sure AWW “WO ou
JoyeNdox YIN, ay Aq LM09 0} uaxE} pue WMOP Posojo o10M Yor joaford sytpero Uogreo
pur smmyNopse ue 0} payeyar suatqoid AJ *(*** JaydeyD sureos omynow8e 909) YQ.
aq} Ul yorq sueyqoid Au Aq pasnes joys Ajayeunyroyun sem woyemndas Al ‘ommyo01q
soyes of] SUIpnpour s}ueumoop jeIogyzo uo pure uosied ur Yjoq Youlg_ ueyjeuor jo omen
ayy Aq Sutod sem | ‘wAuopnesd Aur — ssouisng ay) 0} g[o¥"jIsqo Biq e oAoUIO! pjnOoM
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J WSMy SsoUjL Ureyo ssomy [eMoyeUIa}UI oY} Jo 10}90NIp suoyeredo ayy A[snolAerd
sem oym sdiymyg weog sem oureu sknd oy, ‘ssoutsng oy) uni 0} JopeNp Suseneur
MOU B poweM ay Apjsig “ued MOU SI ssnosIp oO] paseq sem oy sIOYM THETA
WOT YIOX MEN 0} MOL 9] “Suorssrurmos stq Ysnomy Aymbe oy 107 pred pue ssautsnq
ayy ut Aymbe ay Jo %SE payenoZou Apeare pey ay oyWO. oye} 0} poyeMm WIE

TOE WFAA JNO [eT

gsauof ansem st ‘opey / 74g

TEL e10z

 

‘ondeo] JUIATIp B OF! JuOM SBT], “wor
S'1G 4940 poarsool am Aep oO — WONT ¢'6g Jo soyes JUSUNSOAMT pey aM peog uO
SUMED VSOUTYD 94} SIFWOU! Moy ISIN oy] UY ‘som sayes oy} 0] AaLd 3, UseM oY Se JOSIM
auf au0u aq pinom uN “H_N pue ule yno no pue yoanp ferAes YM Jeep o} passe
yUoSe 1o}SeUL BY, “UIE WIM Barjeap oy]] 1,UpIp Jno samy j se pue ujLM Surjeop Apeaye
Sem ol OYM JUTE JojseU ssoUTYD ot) SuIpuoLyeq Jo vapr oq} WLM dn ous fees

SsoUIsng oSaulys oy} [Te SuIqquasy

-Ayrampioddo Ino sem
araz “jno une aseyd usr pue ferreg YIM sseul Jeon Jo 0) sem vapl oY], :peyTuupe
9q 0} pey HW JUSMIOTUVLIE SNO[NOIpL B sem SIT, ‘ofS Hg‘ Yous wo (MOISSTUIMIOD S,.OdN
aA0ge PUB JOAO UOISSIMNTOD ¥) SpLeAO ue snid %OE sem (OdN) suc pue XE

SEM WOIssIUMMOD Ss, fe1aeg osneosq uNIe WEE A[QeIOAv o1OUT feIARS yeay, 0} ysoroyUT AUT

ésauof Ayem st ‘oraH / ZIP
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Case 1

vET 6r0z

yoryM ‘poomATIOP] ISOM) WI ‘sess, sev] “(oumy pilosa ul yey} pousdo oj) ruelyy U1
woNeoo] B ‘(Zz [eI0}) YIOA MON Ul suoNRoO] sIOU ¢ poppe I UTE YM JnoyeZ ayy 19qTW
suones0] MONT

“syuese Zurauozied jsaq op [je poyorod o8ejs sm}

Aq pey ABIARS se ONSSI Ue },USeM Jey} INQ Jey eB O} popuLs AjoyerpomaN Hg_N woy
SOB “Op 0] PIPsoU oY JY Op OF UINY plo) J “syuese oy} [Je 0} sn YMoUL peq 0} pue
YORi_ weYyeUOL SeM | [esac 0} SuIUszyeaN oFessoul 3x9} E YL dn yey pomoyjoy WIE
“]yeo su} papue | pure ,ceddey 0} Zur108 1, ust Jeu}

‘adon ‘suotjes0] o10tm usdo 0} Asuoul sty} asn ues nod os yey “Surjof oq ysnw noz,
* aul

amo nod AsUOUI atj 31]}9S 0] psau NOA oUIJURSUT OU] UI Ng SHY SsNoSIp UD aM LAST],
(ja8enduey satsuazzo oy} parouiel savy J) jou TUM Suyoduios

ore noA Mou pue gy Aur usfoys ‘eopr Au pordoo savy nox “out jYST]ING },UoOp ‘UNL,
+ ST] UI PSATOAU] JOU une y AemAUe “Buisserp Mopum ysnl st yey, YO

.GOostouely

ueg pue yIOX MON ‘TeueNA, Bumi09 sayis yxou Aes yf soop AyM Os, pres J ,ATTeOY,
SYIOM Teg Joaljo }, USa0p I] “apis oy) Uo Burop ure j Sumpoulos st yeyy, yey year YO,
* ainyoorg soedg nO Mou MOA uses ysnf aaRy | T}OM,

<dieqy st Aya YO,

* nod Woy Ieay Oo} posudms une y,

ZUM UOLeSIOATIOD OY} Po}e}S J “WIE MOT sem [Teo

auoyd puoses ayy, ‘Teo suoyd oy] Jo ouTY oY Te OOO‘OOSS punore oj} poymoure yor

syaoutAed aolssmuUIOS sy poyefnuMooe pey pue Zulwoo jt uses pey 7 ag ‘wer

sauof wey s}osH / Z UPA

€eT stoz

UL SPM PIT pue weds wi soNJo S,.HqN SBM puddes sty ‘Teqnd UI sem BOYLAIO] ISI sTy
~ oY @ JOJ sry Sureneyd uesq pey oy yavoul W ‘Appornb os sry] suop pey oy pasudms
sem J “yt puryoq sem oy Moy ANsnpul oy) ur suoAIOAD soedg MO JO WoasI0}
OY} Ul JOU sem UNL ISM, “SOe] IerpMIRy IoyJO Moy B puke OD oy} se sdyyg ueag
pey yorym sovdg mg pares Auedwoo v 10x amyooiq soyes e yes Useq peg oy yey}
QUI ]]9} 0} OM poles feIARG Toy oD OSNOXa JY], “WIOT} YIM SOL IMO yo 0) asnoXa
ue popsou Al[eol | SUOISSIMMUOS SWIG puke H_N Jo osneosq pue s.Hgqn pessedms sey
yromyou S,feraeg utod sip Ty “ovep Joye] B ye UONISOd ayy JoarI0D 0} Suidoy suoyes0]
a] JO SOW pfOsIeAo0 aM YNSAl & se pu YSnous yomnb puewap oy} AJsHes 0} suOyeIOT
PU 1,UP[NOD 9A “SYSOM MJ B UI Sysop OST otf IWsnog ssouryD oy, ‘oseyomd
ay] Joy Uo 7G pemolog | pue woNM ¢¢g ysoo aseyomd oyy, ‘(eureu year
Ava ul) oseyomd orp oj neo] B posueLe pey pue (JOLNsIp ssouisng UIeUl ay] Ut Jag
oyMeMIEINeS UO) OoSIOUBIY Ug Ul JUeINeIsoI jsspjo puooes ayy aseyoInd 0} pao1se
pey | swyUesN oy) Uy ‘WoTsIdsns Aur 0) poppe no pamBy savy ysNU oY WOIYA ssoIo
a]qnop sseuryD 943 YM paydnoo yey], Pood ou o} dn sem ay 49} J SyooM Zuru0o
dU} JSAQ “BSP! oy] SUT[SpIS pjnom sry Mouy J — s[qissodun ze9U si preogAay 0} 1aBUy
Sayynd jnq Joy]e] years & SI WAIL “JE MATASI Pynod J Jey} Os JoyJeso} yesodoid um e md
0} WUIf PoSIApe | “SYIoM Moy & JOT ponunUos ZuLOUMY sy], “Bap! fe1Aeg oy} UO ON Jey
WUTY Plo} pue Bapr SE] oy) WO LUC porOUMY | “sfosy S.HdN ye Suniq sem felaes woym
jyuiod @ ye yroMjou Aouase oy] JO [oN yBIO} savy pynom oy — soyes diysraqurour
0} BurAoul feraRg YIM [Jam Yom pynom ASoyeIs MSU SIL, “aIMjonys mou sq} ysnomwy
Sa]es JUSUNSSAU! oy} Wor; Aouour oy} SuTpsuuny pue suoyeisdo gp oy} Jo JonUCS
SuLyzR] Osye jsp Aauoul oy] [ONUOD puke suoyEso] Mou asaty Joy saovdsyIOmM TIS SI Op
0} CUNY MOT]e pynom sry yey, “AepiaysoA wi0g sem J WYSNoW savy ysnwa op “Auedu09

MOH @ 0} pUeIq syIOoM Jeg oy] Joysaey pue sty) oyerodo 0} wes} JuowoTeueUI

esauof ay yeu 5] ‘Oa / ZIPs
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Case 1

SET et0z

YBNI] JWIAYUT at] WO sop aayeBou oy} ssoiddns 0} syioya Aw ayidseq “Apomb
speoids Ajorjqnd peq st youroyur oy Jo o8v oy) UI ssoUIsnq Bulop WIM UaTgoid sy],

jPOpwo [Te STUB MOY WOUIsseLIequIS Ue SI }1 — jour aARY J o[dood yeuonendsut jsour
ay Jo ovo st op] “Worstasodns Aum Jopum YQ oq) WH Uado 0} wey] spensiad 0} Jdulaye ue
ul o8e sreoX Aueul jou pey J ogm ‘YounsD ureyo wAS oy} Jo Jopunoj oy) sem (TOTeD0]
TUreIJA!) PIO[pue] auUO “oddns pur jsny Mey) poureZe1 pue amop [je Woy pouljeo pue
SPIO][PULT OU} [Je payeo Moppey Wrmusy “woy} oyeoeyd 0} poseuew pue syuase S1q ey)
JO M9} & IM ouoYd 94) UO 109 preury UIppuely pue feineg “yoelg ueWeuor -preuny
urprael.y Jo qof om} sem YoryM ssauisng oy] Sums Ul PSAfOAU ,UseM nq PeATOAUL
peapul Se MOPPR]] YOIMUSY Jeg) pue uosied [eal v sem Youlg uvyeuor yeu) Buysisur
Aq wayqoid og) YIM yeep OA\ “SPlO[pUR] peugou0D WOY s]jeo pjey oO] pey | pue
Supe yromyou Aousse omy pey feraeg “Appoinb peords prom Apjsom peseq yo MON,
B SUIBID Ul Q[oIUe JoyjouR Aq PoMmoT[Oy SEM SY], ‘pney e sem syIo, Jeg duysedsns
pue JWeWaA[oAut Aut SuIsoposip jeoq [eoy ul poreodde oyonze sanedou Aton W “yu1od
Buri} ou) Se STOT Sumy “aBeLeU snotAaid AU WO, UaIpyIyo AU sas 0} SYIOM SAT
Ar9A9 YQ) 34} 0} Youq Buypoaey snd Ayunoo oy Joao je SuTyoary sem ] sey pouado
way} Zunjes pue suoyeoo] mou Zurpury uo posnooy sem J yng eayoe Ayord ps sem
J JOPaNp eIpsul [e1oos pue Aouese Yq eB pue preUry UIpyueLy poureu And e QDD Meu
® pamy pey pue (soedg mo jo yed sem oy Jno punoj | s10Jaq)sseyesn uey} esIoM aq
0} NO pam) sy asnedeq sdyyIyg ueeg pony pey | ospy “worworqnd aye}s9 year poseq
YOR MON B yeoq jeay Aq plOT soy Suroueury Ayrodoig sayeaouyy Iso] papreme
SEM SYIOM IEG pIOT Jequiaseq uy pos Aur umop Surgyesiqg JS oy} Jo ssaus ayy
ayidsap uorsuedxo oy} YIM ponuyUos J ‘WoMjou Wayseq SIPPY pue uerpuy ‘ueIssNy
e Xq paoejder oom asouryy om Ing “BuAng oom ssauTyD oy} Jt Sarpuedep you

8 WONT 6 — Sf UsoMjoq SuIseI2Ae — SuTUI00q [[HS 9194 ueTd yWOUYSeATI oN] JO soyeg

gsauof IW ey sy ‘olen / ZUPa

set tz

“QAOLL PRq B 9q 0} INO POULINY FEY], “OU YIM MSTATOIUT
we paysonbai Qgg oy) Woy JooUpusUTE ,,¢ ay) papesfd pue sonsst esau} WIM Jeep
0} IaAme] & posesua | “OAS om Aq pometarojyur Suteq c19Mm PRs UONTppe UY “SyIOM,
Jeg Smpieser ureyy Woy sewoodgns sateoa1 0} payeys | DAS 9G) Woy YSIA yeu} JOY

sulgjqoaid stg — sumayqorg

“1O0[J panos sy} UO
Jeq ]reyyooo ev uns 0} 1oyeIedo seq jeoo] & TIM osea]-gns v poyeljoSou pey | pus yeULIOZ
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ANUAY ,,8 IO JB MO pajfor oq 0} sem yeOIOY Mou sMgT “Appnb drysrequrew mo jno
TSS 0} su MOTTE PlMoYs oer OF em WIM poyideos puvsq 1emdod sip panore zznq
OY} Ulesy WONedo] SIT UII yseOD seq oy} WO doys sayzoo JsJ Ney uodo oj posse
oym joordjoyng Jo Jspunoy omy Aoidsy arc] 0} oul psonponM ose ayy “siequioul oF
QS} LOATOD PfNoo 9M OS DYFeN Ul Wem jowNJe 0} UoyLoo] siqj url req somf e dedo
0} pseiSe op] UOTEs0] WeyEyUR] Jamo] IMO Surysiqinjai sem 3M SUNY yy] PY Wasld
amg — sieq aomf jo wreyo Surmoz3 yjeus e poyerado oym AnB e 0} ow psonporut
(jar Ayuermo we | uosud oy} Wo JeuI09 oy] pUNoIe) VONesO] UEYeTURP Jamo] Io
Ul OIpNys Ssoupty B oJBOI0 O} YFLM poroujred y Apel ay], “sayes aoedsyIom / SIO\SOATI 3y}
UIA SI9QUIOUI SY} soURTeQ 0} poldwioyye | pue sulsyOs Izuog v Suyeisdo sem | JOR} oI3
oge SNOAISU SION SUIMOIT SeM J “SJTOAO BUDPOMIJOU pure vIPaM [e1o0s ‘sur Wem JO
Spou}oU yeuAIOU Mo wey} JoyoINb soquisUl Mou joeIye 0) Kem B Jo YUIY 0} poposu y

JeULIOJ MONT

“‘yoySueg pue euopsoreg ‘urpog ‘wopuo’y ‘suesj1O MON UI UBts 0} Apeor suONEDOT

peq op “Aan, [nqueysy pue (esses, oy) FurwSis Jo you suo uni pousdo om

esouof ay 3em sy‘oray / Z3IPT
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Case 1

8&T 6102
“udis SureM B Us9q DALY PMOYs %p] Jo sumal ySIY ay, |
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